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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

PATRICIA KENNEDY,                        )
                                         )
      Plaintiff,                         )
                                         )         CIVIL ACTION
vs.                                      )
                                         )         FILE No. 1:20-cv-02016-AT
PINE TREE LODGE, LLC, d/b/a              )
BUDGETEL ATLANTA,                        )
                                         )
      Defendant.                         )

           JOINT STIPULATION TO APPROVE CONSENT DECREE
                   AND TO DISMISS WITH PREJUDICE

      Plaintiff Patricia Kennedy (“Plaintiff”) and Defendant Pine Street Lodge,

LLC (inadvertently identified in the above style as Pine Tree Lodge, LLC) d/b/a

Budgetel Atlanta (“Defendant”) (collectively, the “Parties”) hereby file this joint

stipulation seeking the Court’s approval of the Parties’ proposed consent decree and

to dismiss the instant matter with prejudice. In support thereof, the Parties show the

Court as follows:

      1.      Plaintiff filed the instant lawsuit alleging Defendant, either itself or by

a third party, implements, operates, controls, and/or maintains websites for the

Property (as defined in Plaintiff’s Complaint) and that such websites violate or

violated Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

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      2.      The matters raised by Plaintiff’s Complaint have been amicably

resolved in accordance with the proposed consent decree attached hereto as Exhibit

“A” (the “Consent Decree”).

      3.      In accordance therewith, the Parties request that the Court review,

approve and ratify the Consent Decree. Additionally, the Parties request the Court

retain jurisdiction to enforce the terms of the Consent Decree. See American

Disability Ass'n, Inc. v. Chmielarz, 289 F.3d 1315 (11th Cir. 2002) as the Consent

Decree is conditioned upon the Court’s retaining jurisdiction to enforce said Consent

Decree.

      4.      As part of the Consent Decree reached between the Parties, Plaintiff has

agreed to dismiss this case with prejudice. Accordingly, the Parties request, upon

the Court’s review, approval and ratification of the Consent Decree, that this action

be dismissed with prejudice.

      5.      Except as otherwise stated in the Consent Decree, the Parties shall bear

their respective own fees and costs.

      WHEREFORE, the Parties respectfully request that the Court enter an Order

approving the attached Consent Decree, dismissing the claims asserted by Plaintiff

against Defendant with prejudice, and retaining jurisdiction to enforce the Consent

Decree.

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      Respectfully submitted this 6th day of August, 2020.

CONSENTED TO BY:

KITCHENS KELLEY GAYNES, P.C.                    THOMAS P. BACON, P.A.

By:    /s/ C. Joseph Hoffman                    By: /s/ Tristan W. Gillespie *
      C. Joseph Hoffman                             Tristan W. Gillespie
       Georgia Bar No. 984961                       Georgia Bar No. 268064
      Attorney for Defendant                        Attorney for Plaintiff

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PHILIP MICHAEL CULLEN, II
ATTORNEY AT LAW -- CHARTERED

By:    /s/ Philip Michael Cullen, III *
      Philip Michael Cullen, III
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a font size of 14.

                                             /s/ C. Joseph Hoffman
                                             C. Joseph Hoffman




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                         CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing JOINT STIPULATION TO

APPROVE CONSENT DECREE AND TO DISMISS WITH PREJUDICE with the

Clerk of the Court using the CM/ECF system which will automatically serve a copy

of such filing on the following counsel of record:

                             Tristan W. Gillespie, Esq.
                               Thomas B. Bacon, P.A.
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                            Johns Creek, Georgia 30022
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                         Philip Michael Cullen, III, Esq.
              Philip Michael Cullen, II Attorney at Law -- Chartered
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                           Fort Lauderdale, FL 33301
                                culleniii@aol.com

      This 6th day of August 2020.

                                       KITCHENS KELLEY GAYNES, P.C.

                                       By:     /s/ C. Joseph Hoffman
                                               C. Joseph Hoffman
                                               Georgia Bar No. 984961
                                               Attorney for Defendant

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                      Exhibit A
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